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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Dealer Management Systems Antitrust
Litigation, et al.
                                                   Plaintiff,
v.                                                              Case No.: 1:18−cv−00864
                                                                Honorable Robert M. Dow
                                                                Jr.
CDK Global, LLC, et al.
                                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 3, 2020:


        MINUTE entry before the Honorable Robert M. Dow, Jr: Telephonic motion
hearing held. Defendants' motions for leave to file a response to MDL Plaintiffs'
evidentiary objections [1126], [1132] are granted. Plaintiffs given leave to file a motion
for leave to file a sur−reply by 09/18/2020. Counsel were advised that should the Court
grant the motion, it may be inclined to seek a sur−sur−reply by Defendants. Emailed
notice (mw, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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